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Statement of Pens§on Benefits
at Sepi'ember 'i, 1992

 

PART!€IPANT: PEREZ R{)BLES CAND!DA Fi.
SCHOGL‘ COLEG§O PEDRO BERRIGS-SANTRUCE

SSNZ ' 584-604 624
{}aie of Birl‘h: 91/28/52
SEX: F

Date of Em;:iloyment: 08/16/75
Normaf Bei‘irement Date: 01!27/17_

Currently Month!y Pay: $ 959.0£)

Es”u'mated benefits are based on current pay as of September ‘¥, 1992

1, Norme;! Reti[emen? Bene_fit
`A. ` Month!y Pension Benefzt $ 426.54
B. Estimaied Monihly Soc§a! Security Benefit* 493.22
C. Totai Estimated Bene§t `~ - _ 9?9.??’

2. Accrued Betirement Benefit

A. `Accruec¥ Monthfy Deforred Pensiorz Benefit $ '¥23.49
B. Curren'€ Peroemi Vested 7 ~ ' - 'EGO.%
C. \Zesied Defeo’ed Mon’chiy Pens;'on Bene¥xt 123.49

Cun'ently monthiy pay Wa.§ used to estimate your sociai Seourity benefits* Ac§ual

benefits WZH depend on your compensation and coverage history and the exact'
date benefits commence. ~

Pfease note tha“z‘ all care has been exercised in fha preparation of wis estimate of your
beoe§fs. Actua! benefits Mfi depend on your oom,oeosaifon histoljy at the time of
tennina!ion or retiremean !f an error has ocowreo' in the preparation of zf!?is stafemen;
the prowszorzs of the plan documenz‘ z,vi!l govern and you M!/ be enfi§ed_ to a corrected
sfaz‘en'?eizt. P!ease cootacz‘ fha F/an Admioisfraz‘ozj if you feef an error has been made.

_EXH¥BH`A

